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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.

  TVO HOSPITALITY LLC

  Plaintiff,

  v.

  WESTCHESTER FIRE INSURANCE COMPANY

  Defendant.


                                     NOTICE OF REMOVAL



          Defendant, Westchester Fire Insurance Company (“Westchester”) through its attorneys and

  pursuant to 28 U.S.C. §§ 1441(a) and 1446 and D.C.COLO.L.Civ.R. 81.1, removes this civil action

  from the District Court, County of Denver, Colorado to the United States District Court for the

  District of Colorado. As grounds, Defendant states as follows:

          1.     Westchester is the Defendant in a civil action pending in the District Court, Denver

  County, Colorado and styled TVO Hospitality v. Westchester Fire Insurance Company, Case No.

  2021 CV 032060. A complete copy of the file from the Denver County District Court is attached

  as Exhibits A-E. Specifically, the proof of service of process from CT Corporation is Exhibit A,

  the Complaint is Exhibit B, the Delay Deduction Order is Exhibit C, the Pre-Trial Order is

  Exhibit D, Pennsylvania Department of State Information is Exhibit E, and the register of actions

  is Exhibit F. The Federal Civil Cover sheet is Exhibit G.



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         2.      This Notice of Removal is timely filed under 28 U.S.C. § 1446(b), because it is

  filed within one year of the commencement of this action and within thirty days of the date on

  which this case first became removable. Defendant was served with a copy of the Complaint on

  July 19, 2021.     See Exhibit E.      Accordingly, Defendant’s thirty-day period for removal

  commenced on that date, with a corresponding deadline to remove of August 18, 2021.

         3.      The described civil action is one in which this Court has original jurisdiction under

  the provisions of 28 U.S.C. § 1332(a), as the action is one between citizens of different states and

  the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs.

         4.      Plaintiff alleges the following claims for relief against Defendant: (1) breach of

  contract, and (2) common law bad faith.

                                  DIVERSITY OF CITIZENSHIP

         5.      As alleged in the Complaint, Plaintiff is a domestic limited liability corporation

  organized under the laws of Colorado. Exhibit B, ¶1. An attachment to the Complaint indicates

  that the Plaintiff is a limited liability corporation organized under the laws of Delaware. Defendant

  is a foreign corporation organized under the laws of Pennsylvania with its principal place of

  business located in Philadelphia, Pennsylvania. See Pennsylvania Department of State Information

  attached as Exhibit E. As Plaintiff is alleged to be a citizen of Colorado or, alternatively Delaware,

  and Defendant is a citizen of Pennsylvania, there is complete diversity of citizenship among the

  parties. 28 U.S.C. § 1332.

     AMOUNT IN CONTROVERSY EXCEEDS JURISDICTIONAL REQUIREMENTS

         6.      To meet the jurisdictional requirement under 28 U.S.C. § 1332, Defendant must

  establish that Plaintiff’s damages could exceed $75,000.00 exclusive of interest and costs.


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  Plaintiff’s Complaint alleges (1) breach of insurance contract; (2) common law bad faith. Exhibit

  B at ¶¶ 27-41.     Plaintiff alleges it is owed insurance benefits for damages related to the

  mismanagement of two hotel properties. At ¶¶ 21-22 of the Complaint Plaintiff alleges that the

  damages related to the mismanagement of hotel properties total of $191,468.65 and $844,119.54

  respectively. Additionally, at ¶ 34 of its Complaint, Plaintiff alleges that as a direct and proximate

  result of Defendant’s denial of coverage Plaintiff has “incurred over one million dollars in

  damages.” Exhibit B at ¶ 34.

         7.      “The amount in controversy is not proof of the amount the plaintiff will recover.

  Rather it is an estimate of the amount that will be put at issue in the course of the litigation.”

  McPhail v. Deere & Company, 529 F.3d 947, 956 (10th Cir. 2008). Here, the allegations of

  Plaintiff’s Complaint provide that Plaintiff seeks to recover for damages in excess of $1,000,000

  which demonstrates that the amount in controversy exceeds the $75,000 jurisdictional threshold in

  28 U.S.C. § 1332(a).

         8.      Based on the foregoing, this Court has jurisdiction over this action under 28 U.S.C.

  § 1332(a), because there is complete diversity between the parties and the amount in controversy

  exceeds $75,000.00.

         9.      Promptly upon filing this Notice of Removal, Defendant shall give written notice

  of the filing to Plaintiff as required by law. Defendant is concurrently filing a notice attaching this

  Notice of Removal with the Clerk of the District Court, Denver County, Colorado where this action

  was originally filed. A copy of that notice is attached hereto as Exhibit H.

         WHEREFORE, Defendant Westchester requests that this Court accept its Notice of

  Removal and assume jurisdiction over this action.


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       Respectfully submitted this 18th day of August, 2021.




                                                           CLYDE & CO. US LLP

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                                   CERTIFICATE OF SERVICE

      I hereby certify that, on the 18th day of August, 2021, I electronically filed the foregoing with
  the Clerk of the Court using the CM/ECF system which will send notification of such filing to the
  following:

   Armin Sharifi, Esq.
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                                                                /s/ Rachel Salabak
                                                                Rachel Salabak




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